
16 N.Y.2d 906 (1965)
In the Matter of The Estate of William Tisnower, Deceased. Nettie Orner, as Executrix of William Tisnower, Deceased, Appellant; Angela C. Tisnower, Respondent.
Court of Appeals of the State of New York.
Argued September 27, 1965.
Decided October 21, 1965.
Elmer Lee Fingar for appellant.
William D. Cabell and Jon H. Hammer for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order reversed, with costs to both parties payable out of the estate, and matter remitted to the Surrogate's Court, New York County, with a direction that the prayer of the petition be granted. (See Matter of Galewitz, 5 N Y 2d 725.) No opinion.
